            Case 8:21-ap-00333-CPM           Doc 231     Filed 09/02/22      Page 1 of 2




                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION
                                www.flmb.uscourts.gov

In re:

The Producers, Inc.,                                    Case No. 8:19-bk-8638-CPM
                                                        Chapter 11
   Debtor.
_____________________________________/

GREGORY FAIA; VERNON DECOSSAS, III;
DNC HOLDINGS, INC; DOM HOLDINGS, INC.;
and DOMAIN APPS, LLC,

     Plaintiffs,
v.
                                                        Adv. No. 8:21-ap-00333-CPM
SIGMUND SOLARES; MICHAEL GARDNER;
VIVIAN SOLARES CAHILL; the estate of Sandra
F. Gardner; LARRY S. HYMAN, as Chapter 7
Trustee of the bankruptcy estate of The Producers,
Inc.; and THE PRODUCERS, INC.,

    Defendants.
_________________________________________/

                        MEDIATOR’S NOTICE OF IMPASSE

            The undersigned conducted a mediation in Adversary Proceeding No. 8:21-ap-333-

CPM, Faia et al. v. Solares, et al., on August 11, 2022, at the offices of Carlton Fields in Tampa.

The mediation lasted substantially all day and resulted in impasse.

         Dated: September 2, 2022
                                               GENOVESE JOBLOVE & BATTISTA, P.A.
                                               100 S.E. Second Street, 44th Floor
                                                Miami, FL 33131
                                                Telephone: (305) 349-2300
                                                Facsimile: (305) 349-2310

                                                 By: /s/ Theresa Van Vliet__________
          Case 8:21-ap-00333-CPM          Doc 231     Filed 09/02/22    Page 2 of 2




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                              CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on the 2nd day of September 2022, a true and correct

copy of the foregoing was served to all parties receiving CM/ECF notification via the Court’s

CM/ECF system.

                                              By: /s/ Theresa Van Vliet__________
                                                      Theresa Van Vliet, Esquire
